           Case 2:20-cv-02675-PBT Document 7 Filed 10/05/20 Page 1 of 4




                                                                          October 5, 2020


Honorable Linda K. Caracappa, Magistrate Judge
U.S. District Court
U.S. Courthouse
601 Market Street
Philadelphia, PA 19106



         RE:    Tillery v. Eason, et al.
                Civil Action No. 20-2675

Dear Judge Caracappa:

         Enclosed please find a copy of our Motion for Extension of Time to File Response, filed

today.




                                                                  Respectfully submitted,

                                                                  /s/ Samuel H. Ritterman

                                                                  SAMUEL H. RITTERMAN
                                                                  Assistant District Attorney



cc: Major George Tillery, pro se
         Case 2:20-cv-02675-PBT Document 7 Filed 10/05/20 Page 2 of 4




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,
     Petitioner                           :                         CIVIL ACTION

              v.                          :

KENNETH EASON, et al.,
     Respondents                          :                         NO. 20-2675

                                          ORDER

       AND NOW, this                  day of                                     , 2020, Respondents’

motion for an extension of time to file a response by December 7, 2020, is GRANTED.

                                                 BY THE COURT:



                                                 -----------------------------

                                                 The Honorable Linda K. Caracappa
                                                 United States Magistrate Judge
          Case 2:20-cv-02675-PBT Document 7 Filed 10/05/20 Page 3 of 4



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,
     Petitioner                               :                      CIVIL ACTION

               v.                             :

KENNETH EASON, et al.,
     Respondents                              :                      NO. 20-2675



                    MOTION FOR ENLARGEMENT OF TIME TO FILE RESPONSE TO
                            PETITION FOR WRIT OF HABEAS CORPUS

       Respondents respectfully request a two-month extension of time, to December 7, 2020,

to file a response to the petition for writ of habeas corpus in the above-captioned matter. This

matter was assigned to the undersigned three days before today, which is the current due date.

In addition to this new assignment, the undersigned is assigned to several habeas matters at

various stages in federal court, state court post-conviction cases, state superior court appeals,

and is assisting the District Attorney Office’s trial units in various matters. Thus, respondents

must request an extension of time in which to file their response. This is respondents’ first request

for an extension. The undersigned will endeavor to complete the response as soon as possible.

       WHEREFORE, Respondents respectfully request that they be granted an extension of

time, to December 7, 2020 to file a response to the petition for writ of habeas corpus.


                                                              Respectfully submitted,

                                                              /s/ Samuel H. Ritterman
                                                              SAMUEL H. RITTERMAN
                                                              Assistant District Attorney
          Case 2:20-cv-02675-PBT Document 7 Filed 10/05/20 Page 4 of 4



                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MAJOR GEORGE TILLERY,
     Petitioner                               :                      CIVIL ACTION

               v.                             :

KENNETH EASON, et al.,
     Respondents                              :                      NO. 20-2675




                             CERTIFICATE REGARDING SERVICE


       I, SAMUEL H. RITTERMAN, counsel for Respondents, hereby certify that on October 5,

2020, a copy of the foregoing document was filed on ECF. Due to the COVID-19 pandemic, the

Philadelphia District Attorney’s Office has limited the number of days that its employees work

inside the office. Thus, while the undersigned has immediately provided this document to the

office’s support staff, that staff may not be immediately available to mail it, thereby potentially

causing a delay in the effectuation of service. At the soonest opportunity, Respondents will serve

the document on petitioner via first-class mail at the following address:

Smart Communications/PADOC
Major George Tillery / AM9786
SCI CHESTER
PO Box 33028
St Petersburg, FL 33733




                                                     /s/ Samuel H. Ritterman
                                                     ___________________________
                                                     SAMUEL H. RITTERMAN
                                                     Assistant District Attorney
